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                            EXHIBIT N

Certified copy of State’s Exhibit 48 at the criminal trial of Lana
Canen in State of Indiana v. Lana R. Canen, Elkhart Circuit Court,
                Cause No. 20C01-0309-MR-155
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       USDC IN/ND case 3:14-cv-00315-RL document 42-14 filed 09/10/15 page 3 of 3




        1   STATE OF   INDIANA        )       IN THE ELKHART CIRCUIT COURT
                                      ) SS:
        2   COUNTY OF ELKHART         )       CAUSE NO:     20C01-0409-MR-00118

        3


        4


        5


        6                               CERTIFICATE


        7


        8                I, Ann S. Hunsberger, do hereby certify that I

        9   am the Official Court Reporter of the Elkhart Circuit

       10   Court in the above matter, and the foregoing pages

       11    constitute a true and accurate transcript of the

jj^\   12   testimony given at said time and place.

       13                I certify that the same was reduced to

       14    typewritten form from my original stenograph notes and/or

       15    electronically recorded equipment by Computer-Aided

       16    Transcription.

       17                IN WITNESS WHEREOF,     I have hereunto set my hand

       18    and seal this 12th day of December,          2005.

       19


       20


       21                                        Ann S. Hunsberger
                                                 Official Court Reporter
       22                                        Circuit Court
                                                 101 North Main Street
       23                                        Goshen,    Indiana   4 6526

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